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                  EXHIBIT 12
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                                   17026




      From: James Kolenich [ma i1to:jek3 18@gma il.com]
     Sent: Friday, April 13, 2018 10:20 AM
     To: YBarkai@bsfllp.com; Seguin Strohmeier <sstrohmeier@kaplanandcompany.com>
     Subject : Matt Heimbach discovery responses


      Please fi nd attached d iscovery responses of defendant Matthew Heimbach.

     Jim



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